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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF ARKANSAS
                            WESTERN DIVISION

UNITED STATES OF AMERICA                                                     PLAINTIFF

v.                      CASE NO. 4:13CR00197-05 BSM

ABDUL AZIZ FARISHTA                                                        DEFENDANT


                           JUDGMENT OF ACQUITTAL

      Pursuant to the verdict returned by the jury on October 10, 2014, the defendant Abdul

Aziz Farishta is found not guilty on Counts one and ten of the September 11, 2012,

Superseding Indictment.

      IT IS ORDERED, ADJUDGED AND DECREED that the defendant Abdul Aziz

Farishta is acquitted, discharged and any bond exonerated.

      IT IS SO ORDERED this 14th day of October 2014.




                                                UNITED STATES DISTRICT JUDGE
